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U.S. District Court for the Northern District Of Illinois
Attorney Appearance Form

 

Case Title: J.R. v. Board of Education of the Case Number: 1:19-CV-8145
City of Chicago, et al.

An appearance is hereby filed by the undersigned as attorney for:
Legal Prep Charter Academies

Attorney name (type or print): John J. Moroney
Firm: Franco Moroney Buenik LLC

Street address: 500 W. Madison Street, Suite 2440
City/State/Zip: Chicago, Illinois 60661

Bar ID Number: 6205781 Telephone Number: 312-466-7242
(See item 3 in instructions)

Email Address: john.moroney@francomoroney.com

Are you acting as lead counsel in this case? Yes [| No
Are you acting as local counsel in this case? [ ] Yes No
Are you a member of the court’s trial bar? Yes [| No

If this case reaches trial, will you act as the trial attorney? Yes [| No

If this is a criminal case, check your status. [| Retained Counsel

[ | Appointed Counsel
If appointed counsel, are you

[ Federal Defender
[| CJA Panel Attorney

 

In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on

Attorney signature: | S/_John J. Moroney
(Use electronic signature if the appearance form is filed electronically.)

Revised 8/1/2015
